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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 THINK GREEN LIMITED,

               Plaintiff,
                                                    No. 21 CV 5445
          v.
                                                    Judge Georgia N. Alexakis
 MEDELA AG and MEDELA LLC,

               Defendants.

                            MEMORANDUM OPINION AND ORDER

       Think Green Limited (“Think Green”) sues Medela AG and Medela LLC

(“Medela”) under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A), for infringing

on the trade dress rights it holds in its breast pump, and under both the Lanham Act,

§ 1125(a)(1)(B), and the Illinois Deceptive Trade Practices Act, 815 ILCS 510/1 et seq.,

for false advertising. Medela now moves for summary judgment on Think Green’s

trade dress and false advertising claims. Think Green moves for partial summary

judgment on an issue relevant to its trade dress claim (the likelihood of post-sale

confusion). The parties also have filed two motions apiece to exclude or strike expert

testimony.

       For the reasons explained below, the Court denies Medela’s motion for

summary judgment as to Think Green’s trade dress claim and grants it as to Think

Green’s false advertising claim. [281]. The Court denies Think Green’s motion for

partial summary judgment, [274], and denies all four motions to exclude and strike,

[292], [295], [303], [331].
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   I. Relevant Facts and Procedural History

       The relevant facts and procedural history are recounted in the summary

judgment order of the court previously assigned to this matter. See [185] at 2–4.

       To summarize: Think Green and Medela both sell manual, one-piece silicone

breast pumps.1 The pumps are pictured below, with Think Green’s pump on the left

and Medela’s pump on the right within each image:




[275] at 2.



1 The parties refer to the at-issue product as a “pump,” “collector,” or “silicone manual breast

milk collector.” Occasionally, Think Green’s pump is referred to by the company’s other name,
“Haakaa.” For purposes of this order, the Court will refer to the product at issue as a pump.
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       Think Green claims trade dress rights in the “three-part shield-collector-base

configuration, wherein the collector is bulbous yet fits underneath the outer diameter

of the shield and contains an ornamental rib in its top part, while the base flares out

from the bottom of the collector bulb to meet the surface upon which the whole unit

rests.” [1] ¶ 18. Think Green has accused Medela of infringing on its design patent,

infringing on its trade dress, and false advertising. See generally [1].

       After granting Think Green’s temporary restraining order, the district court

earlier assigned to this matter denied Think Green’s motion for a preliminary

injunction. [185] at 3–4. The parties later filed motions for summary judgment. Id. at

4. The earlier court granted Medela’s motion for summary judgment as to Think

Green’s design patent claim but denied the parties’ motions with respect to the trade

dress claim, finding them premature. Id. With the benefit of discovery, the parties

now renew their motions for summary judgment on Think Green’s remaining claims.

They also move to exclude various expert opinions, which is where the Court begins

its analysis.

   II. Motions To Exclude Expert Opinions

       A. Rhonda Harper

       Harper, a Think Green expert witness in areas involving marketing, branding,

and consumer research, used various analytical methods to conclude that (1) among

the relevant universe of consumers, there is a likelihood of confusion that Medela’s

pump is sponsored or approved by Think Green due to the allegedly infringing trade

dress; and (2) the relevant universe of consumers would likely ascribe secondary



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meaning to Think Green’s trade dress. E.g., [287-15] ¶¶ 2, 3, 29, 30. Medela seeks to

exclude Harper’s expert opinions and underlying survey results pursuant to Federal

Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993). See generally [303]. Medela also seeks to strike Harper’s rebuttal declaration.

[331]. The Court denies both of Medela’s motions.

          1. Admissibility of Survey Evidence, Generally

      Admissibility of survey evidence is governed by Rule 702 and the principles

outlined in Daubert. Courts generally find consumer survey evidence admissible if a

qualified expert testifies that the survey was conducted according to generally

accepted principles of survey research. See Evory v. RJM Acquisitions Funding LLC,

505 F.3d 769, 776 (7th Cir. 2007); Menasha Corp. v. News Am. Mktg. In-Store, Inc.,

238 F. Supp. 2d 1024, 1030 (N.D. Ill. 2003). The criteria for the trustworthiness of

survey evidence are that:

      (1) the universe was properly defined; (2) a representative sample of that
      universe was selected; (3) the questions to be asked of interviewees were
      framed in a clear, precise and non-leading manner; (4) sound interview
      procedures were followed by competent interviewers who had no
      knowledge of the litigation or the purpose for which the survey was
      conducted; (5) the data gathered was accurately reported; (6) the data
      was analyzed in accordance with accepted statistical principles; and (7)
      objectivity of the entire process was assured.

LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 661 F. Supp. 2d 940, 952 (N.D. Ill. 2009)

(cleaned up). Medela argues that Harper’s surveys fail to abide by the sixth and

seventh criteria. [303] at 3.

      Survey evidence need not be perfect to be admissible. See AHP Subsidiary

Holding Co. v. Stuart Hale Co., 1 F.3d 611, 618 (7th Cir. 1993). “Shortcomings in

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survey results typically affect the weight of the survey, not its admissibility.” Bodum

USA, Inc. v. A Top New Casting, Inc., No. 16 C 2916, 2017 WL 6626018, at *6 (N.D.

Ill. Dec. 28, 2017) (citing AHP, 1 F.3d at 618); see also id. at *7 (explaining that

whether a particular survey question “could have resulted in sampling bias … goes

only to the weight of the survey”). No survey is “foolproof” or beyond criticism. See

Uncommon, LLC, v. Spigen, Inc., 926 F.3d 409, 417 (7th Cir. 2019); Simon Prop.

Group L.P. v. mySimon, Inc. 104 F. Supp. 2d 1033, 1039 (S.D. Ind. 2000). And while

a survey may be of so little utility that it is irrelevant and therefore inadmissible, see

LG Elecs., 661 F. Supp. 2d at 952, such situations are rare, see AHP, 1 F.3d at 618.2

        For the reasons explained next, Harper’s surveys do not constitute one of those

“rare” situations where fundamental flaws render them “completely unhelpful to the

trier of fact and therefore inadmissible.” AHP, 1 F.3d at 618.

           2. Admissibility of Harper’s Survey Evidence

        Medela attacks the admissibility of Harper’s survey evidence in numerous

respects. The Court addresses each critique in turn.




2 See also McGraw–Edison Co. v. Walt Disney Prods., 787 F.2d 1163, 1172 (7th Cir.
1986) (district court’s concern about the “manner of presentation to the interviewee goes to
the weight to be accorded to the survey results rather than providing a reason to ignore the
survey evidence altogether”); Zarinebaf v. Champion Petfoods USA Inc., No. 18 C 6951, 2022
WL 910638, at *4 (N.D. Ill. Mar. 29, 2022) (“Even viewed cumulatively … These types of
technical defects and study design choices may lessen the evidentiary weight to be afforded
but do not leave the surveys so flawed as to be unreliable or unhelpful to a trier of fact.”);
Uncommon, LLC v. Spigen, Inc., 305 F. Supp. 3d 825, 850 (N.D. Ill. 2018) (“Courts rarely
exclude consumer surveys from evidence, since most ‘shortcomings’ go to ‘the proper weight
of the survey’ rather than admissibility.”), aff’d, 926 F.3d 409 (7th Cir. 2019).
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      Control Stimuli in Secondary Meaning and Point-of-Sale Confusion

Surveys: Medela takes issue with the control stimuli Harper used in her secondary

meaning and point-of-sale confusion surveys. [303] at 3.

      The   purpose   of   a secondary meaning survey is   to   determine   whether

consumers associate the allegedly infringed design features with a particular

producer. See adidas Am., Inc. v. Skechers USA, Inc., 890 F.3d 747, 754 (9th Cir.

2018). Harper designed her secondary meaning survey to “determine whether

Haakaa’s asserted trade dress, as embodied in the Haakaa breast milk pump/collector

… has secondary meaning in the relevant category among relevant consumers in the

United States.” [287-15] ¶ 210.

      The online survey presented half of the respondents (the “test group”) with

photos of Think Green’s trade dress, pictured immediately below, and asked those

respondents whether they associated the pump with one particular company or

brand, and if so, which brand and why. Id. ¶¶ 224–38.




      The other half of the respondents (the “control group”) was presented with

photos of a different pump, pictured below, and asked the same questions. Id. ¶ 229.



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      With respect to the point-of-sale confusion survey, Harper designed that

survey to “determine whether [Medela’s] breast milk pump/collector is likely to cause

forward point-of-sale consumer confusion.” Id. ¶ 127. Forward point-of-sale consumer

confusion involves a consumer’s misimpression at the point of sale (for example, a

store shelf or an Amazon listing) that the trade dress’s older user is the source or

sponsor of the newer user’s product. Grubhub Inc. v. Relish Labs LLC, 80 F.4th 835,

844 (7th Cir. 2023) (“A classic example of forward confusion lies where a consumer

mistakenly believes that a counterfeit purse she buys is from her favorite Parisian

fashion house because the fabric or buckle of the purse features the well-known mark

of that fashion house.”).

      In Harper’s online survey, the test group was presented with an image of

Medela’s pump, captured from the website buybuybaby.com, which included the

“MEDELA” brand name; the product’s name, the Medela® Silicone Breast Milk

Collector; its price; and an image of the pump that included a lanyard and yellow

stopper. Id. ¶ 140. That image follows:




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      The control group was presented with an image of a different, “wearable”

breast pump, offered by a company called Elvie, drawn from the same website, with

the same features (brand name, product name, price-point) pictured. Id. ¶ 145. That

image follows:




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      The survey ultimately asked respondents whether or not “the manufacturer or

brand of the breast milk pump/collector [they] just reviewed … is sponsored or

approved by another manufacturer or brand.” Id. ¶ 149. If a respondent answered yes

to the “sponsored or approved” inquiry, the respondent was then asked what other

manufacturer or brand had sponsored or approved the pump or collector the

respondent had just viewed and why the respondent thought so. Id. ¶ 151.

      Medela takes issue with the pump images that members of both control groups

were shown—in other words, the control stimuli. [303] at 4–6. Relying on its expert,

Keith Botner, Medela argues that the control stimuli are “so wildly different” than

the test stimuli that Harper’s surveys are unreliable. Id. at 4; see also id. at 5 (arguing

that the control stimulus in the point-of-sale survey introduced numerous

“differences in appearance and features wholly unrelated to the asserted trade dress

elements”).

      But as Think Green points out, it is not imperative that secondary meaning

surveys include a control group at all to be considered reliable. [319] at 3. As at least

one district court has observed, secondary meaning surveys measure the extent to

which consumers associate a particular trade dress with a particular source, and a

control group would not necessarily aid in that analysis. See Honestech, Inc. v. Sonic

Sols., No. A-08-CA-922-SS, 2009 WL 10699727, at *4 (W.D. Tex. Dec. 7, 2009) (“A

secondary meaning survey is not intended to establish causation, but to measure the

extent to which consumers associate a particular product name with a single source.

Thus, such a survey does not require a control group as a matter of course.”); see also



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Honestech, Inc. v. Sonic Sols., 420 F. App’x 359, 364 (5th Cir. 2011) (“[T]he district

court did not abuse its discretion in admitting [the secondary meaning] survey. The

survey, although not perfect, was sufficiently reliable to be admitted; in other words,

any methodological errors spoke to its weight, not its admissibility.”).

      In a similar vein, another court in this District—while recognizing the valid

role that control groups or questions may play in secondary meaning surveys—

nevertheless concluded that an expert’s failure to include any control at all was “not

so obviously fatal as to render [the expert’s] testimony inadmissible.” Black & Decker

Corp. v. Positec USA Inc., No. 11-CV-5426, 2015 WL 5612340, at *20 (N.D. Ill. Sep.

22, 2015). The Black & Decker court noted that the expert’s surveys still “contain[ed]

‘further probing’ into the basis for the respondents’ belief as to who makes the

pictured or described product.” Id. That is the case here as well. See [287-15] ¶ 151

(respondents were asked “why do you say that” after they identified another

manufacturer or brand who they believed had sponsored the product depicted); id. ¶

237 (respondents were asked “what makes you say that” after they identified a

particular company or brand that they associated with the appearance of the pump




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or collector).3

       Nor is it clear that including a weak control stimulus (even assuming that is a

fair characterization of the control stimuli used here) renders a survey “so flawed as

to be completely unhelpful to the trier of fact” and therefore inadmissible. See AHP,

1 F.3d at 618; see also LG Elecs., 661 F. Supp. 2d at 956 (criticisms alleging an

improper control group in a consumer confusion survey “address[] the weight of the

[survey], rather than its admissibility”).4

       Though Medela’s expert may disagree with the strength of Harper’s control

stimuli, [303] at 4, ultimately, this type of “battle of the experts” is inappropriate for


3 To support Harper’s exclusion, Medela relies on a post-trial ruling in Black & Decker, in

which the district court concluded that a new trial was warranted due to the improper
admission of likelihood of confusion survey. [330] at 2 (citing Black & Decker Corp. v. Positec
USA Inc., No. 11-CV-5426, 2017 WL 4010922 (N.D. Ill. Sep. 11, 2017)). Medela fails to
acknowledge, however, that the district court in Black & Decker granted the post-trial
motion, in large part, because the expert’s trial testimony deviated significantly from the
expert report that had survived the pre-trial Daubert challenge. See Black & Decker Corp. v.
Positec USA Inc., No. 11-CV-5426, 2017 WL 4010922, at *3 (“Despite offering the survey as
evidence that Defendants’ trade dress caused customer confusion, however, Mr. Berger
testified at trial that his survey did not test causation, but instead was merely
‘observational.’”); id. (“According to Mr. Berger, the survey was not concerned with whether
Defendants’ trade dress caused the consumers’ confusion.”); id. at *5 (“Although Mr. Berger
testified that the photo was ‘of a store environment,’ … Plaintiffs were unable to authenticate
the photo on which the survey was based.”). There is no suggestion at this juncture that
Harper’s survey is not being offered as evidence of consumer confusion, so Medela’s reliance
on the 2017 decision in Black & Decker is suspect.

4 Medela points to secondary literature to support its argument that Harper’s selection of

improper control stimuli renders her report inadmissible. [330] at 8 (citing Shari S. Diamond
and Jerre B. Swann, Trademark and Deceptive Advertising Surveys, (2d ed.) at 86, 99). But
its source material mandates no such outcome. If anything, Diamond and Swann recognize
the inherent difficulty in devising proper control stimuli, which is consistent with courts’
general conclusion that criticisms of selected stimuli bear on the weight to be given an
expert’s analysis, not its admissibility. See, e.g., id. at 99 (recognizing that “proper
interpretation or application” of the principle that “a proper control stimulus is identical to
the test stimulus in all respects except the specific element to tested” “is more challenging
than it sometimes appears”); id. at 100 (“[A]s the test element in a secondary meaning survey
becomes more inherently complex, so does choice of an appropriate control.”).
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resolution in a Daubert motion. Wipf v. Kowalski, 519 F.3d 380, 385 (7th Cir.

2008) (“[I]n a case of dueling experts ... it is left to the trier of fact, not the reviewing

court, to decide how to weigh the competing expert testimony.”). Medela may test

Harper’s potentially weak control stimuli through cross examination, so that the jury

might determine the “weight to be accorded to the survey results.” McGraw-Edison,

787 F.2d at 1172. But Medela’s bones of contention provides no basis to strike

Harper’s testimony altogether.

       Point-of-Sale Confusion Survey and Marketplace Reflection: Medela

separately complains that Harper’s point-of-sale confusion survey did not reflect how

consumers encounter the depicted pumps in the real-world marketplace. [303] at 8–

10. It argues that the pictures Harper used did not “present[] the full scope of

information available to a prospective online purchaser” and are “devoid of a host of

further identifying information that consumers would typically encounter by viewing

the actual product listing page for these products.” Id. at 9.

       As pictured above, see supra at 8, the point-of-sale confusion survey included

an image of Medela’s pump, captured from a buybuybaby.com listing, featuring the

“MEDELA” brand name; the product’s name, Medela® Silicone Breast Milk Collector;

its price; and an image of the pump that included its lanyard and yellow stopper.

[287-15] ¶ 140. Medela suggests that Harper should have used the “full product

listing,” including images of the pump’s packaging, additional images of Medela’s

“signature butter yellow,” a bullet point list of the pump’s features, and the ability to




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click on the pump’s image to expand it. [303] at 9. Medela offers similar critiques of

Harper’s presentation of the Elvie wearable pump. Id.

      Medela cites two cases to support its proposition that the survey’s alleged

“failure   to   reflect   actual   marketplace   conditions   provides   grounds    for

inadmissibility.” Id. at 10. The first, THOIP v. Walt Disney, advises that a failure to

reasonably approximate actual marketplace conditions may provide grounds for

inadmissibility and that the closer a survey comes to mirroring “the situation in

which the ordinary person would encounter the [product], the greater the evidentiary

weight of the survey results.” 690 F. Supp. 2d 218, 231 (S.D.N.Y. 2010). In THOIP,

the district court concluded that an expert had failed to reasonably approximate

actual marketplace conditions by designing a survey premised on the unsupported

notion that consumers would encounter the specific products tested by the survey in

close proximity to one another, id. at 236–38, and where “[t]he shirts used in the

survey did not bear the neck labels and hang tags that would have been attached to

the shirts in the marketplace,” id. at 238–39. Although Medela tries to analogize the

absentee information in Harper’s point-of-sale survey to the flaws in THOIP, they are

not of similar ilk. The flaws in THOIP bore on a core component of a consumer’s

shopping experience (whether the competing products could be found in the same

location) and deprived consumers of source information that likely would have

diminished confusion. Id. By comparison, the omissions about which Medela

complains are far more ancillary, and they largely involve source information that is




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cumulative of source information already visible on the images shown as part of

Harper’s survey.

      In the second case Medela cites, American Footwear Corp. v. General Footwear

Co. Ltd., survey participants at six different shopping centers were shown a poster of

a boot that did not include the boot’s brand name. 609 F.2d 655, 660 n.4 (2d Cir. 1979).

The poster was not intended for such isolated display, but rather for display at shoe

fair and industry trade show booths, “in an environment replete with references to

[the brand] as the seller of the boot.” Id. The Second Circuit found the district court’s

rejection of this survey not clearly erroneous, in part because the poster was shown

to participants entirely isolated from its intended context. That conclusion is not

relevant here, where Harper’s survey included two references each to the Medela and

Elvie brand names, along with other identifying information. [287-15] ¶¶ 140, 145.

Harper’s omission of all of the identifying features that Medela would have preferred

is not a reason to exclude the survey, but fodder for cross examination.

      Fundamentally, as Think Green points out, a survey need “not replicate the

exact purchasing experience of every consumer confronting [the pertinent product] in

the marketplace”; it requires only “reasonable choices based on [the expert’s]

experience and training and on accepted survey techniques.” See Easy Spirit, LLC v.

Skechers U.S.A., Inc., 571 F. Supp. 3d 185, 209 (S.D.N.Y. 2021); see also Maui Jim,

Inc. v. SmartBuy Guru Enters., No. 1:16 CV 9788, 2019 WL 5577165, at *4 (N.D. Ill.

Oct. 29, 2019) (although “[s]urveys should replicate the marketplace conditions as

well as possible,” “[n]o control is perfect, so reliability does not require exact



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simulation of the situation at issue”).5 Ultimately, in this Court’s estimation,

Medela’s criticisms do not bear on the survey’s admissibility, but the “evidentiary

weight of the survey results”—a question for the jury. THOIP, 690 F. Supp. 2d at 231.

       Control Stimulus in Post-Sale Confusion Survey: Through a different

survey, Harper sought to “determine whether Medela’s breast milk pump/collector is

likely to cause post-sale confusion.” Id. ¶ 171. Post-sale confusion occurs when a

potential customer sees a product bearing the plaintiff’s trade dress and mistakenly

attributes the product to the plaintiff, thereby influencing his or her buying decision,

either positively or negatively. CAE, Inc. v. Clean Air Eng’g, Inc., 267 F.3d 660, 683

(7th Cir. 2001); see also Lois Sportswear, U.S.A., Inc. v. Levi Strauss & Co., 799 F.2d

867, 872–73 (2d Cir. 1986) (“[P]ost-sale confusion would involve consumers seeing



5 Medela cites to earlier language in Maui Jim, in which the district court wrote as follows:

“A survey control that involves changing multiple relevant components does not effectively
serve this function.” No. 1:16 CV 9788, 2019 WL 5577165, at *3; [330] at 2. Medela omits,
however, the conclusion of the district court’s analysis, which—consistent with the language
from Maui Jim that the Court cites in the body of this opinion—reads as follows:
“Nevertheless, ‘while the fact that a survey used a control that could have been “stronger” or
“better” may mean it is entitled to less weight, it does not mean that the survey does not
provide relevant information.’” Id. (quoting Gucci Am., Inc. v. Guess?, Inc., 831 F. Supp. 2d
723, 740 (S.D.N.Y. 2011)). This is not the only instance of selective citations the Court has
encountered in Medela’s briefs. As another example, Medela attempts to take Think Green
to task for selectively quoting from Western Publishing Co., Inc. v. Publications Intl, Ltd., No.
94 C 6803, 1995 WL 1684082 (N.D. Ill. May 2, 1995). [330] at 2–3. The Court has reviewed
Western Publishing and does not agree with Medela’s characterization of Think Green’s
reliance on that decision for specific, articulated purposes. [319] at 2–4, nn. 10, 17 & 24.
Medela, on the other hand, argues that Western Publishing supports excluding Harper’s
report altogether. [330] at 2–3. But Western Publishing did no such thing. In granting
plaintiff’s motion for a preliminary injunction, the court in Western Publishing made clear
that its critiques of the plaintiff’s expert’s report bore only on the weight it would give it. Id.
at *15 (“[T]his court accords very little weight to the results of the survey performed by
Marketeam for Western.”); id. at *16 (“The parties’ survey evidence was disappointing and
entitled to little weight.”); id. (“[U]se of a control would be enlightening. Nevertheless, this
evidence that consumers are confused as to the source of origin of Little Rainbow Books
cannot be completely discounted.”).
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[plaintiff’s] jeans outside of the retail store, perhaps being worn by a passer-by. The

confusion the [Lanham] Act seeks to prevent … is that a consumer seeing the familiar

stitching pattern will associate the jeans with [defendant] and that association will

influence his buying decisions.”).

      To assess the likelihood of post-sale confusion, Harper’s online survey first

screened for respondents who purchased a pump in the last year or who would

consider purchasing one in the next year. [287-15] ¶ 181. The test group was

presented with four images of Medela’s pump, collected from Medela’s online retail

product pages, less Medela’s name, design elements, and measurements. Id. ¶ 184.

Those images are as follows:




Id.




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      The control group was presented with four images of a different pump (again,

the Elvie Curve) that did not share Medela or Think Green’s trade dress. Id. ¶ 190.

Those images are as follows:




Id.

      Respondents were invited to click on the images to enlarge them and could only

proceed with the survey if they affirmed that they “viewed the breast milk

pump/collector clearly.” Id. ¶¶ 191–92. Respondents were ultimately asked what

company, companies, or brand(s) they believed put out the pictured pump, assuming

they had an opinion in that regard; why they had that belief; and whether they

believed the pump was affiliated with, or sponsored or approved by, any other

company or brand. Id.

      Medela lodges two primary objections to this survey. The first is with the

images Harper presented to the test group of its pump. Id. ¶ 184. Medela describes

these images as “small thumbnail[s]” with “various elements” that obscured the

Medela product, such that the respondents were unable to see the elements that

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purportedly infringe upon Think Green’s trade dress. [303] at 6. But as Think Green

points out, Medela ignores the survey’s instructions permitting respondents to

enlarge the images by clicking on them and prohibiting respondents from proceeding

with the survey if they did not get a clear picture of the pump. [319] at 7. And in any

event, whether a survey’s images are too small or otherwise unclear is an objection

for a jury to hear, not a basis for excluding survey results altogether. See Louis

Vuitton Malletier S.A. v. Sunny Merch. Corp., 97 F. Supp. 3d 485, 508 (S.D.N.Y. 2015)

(rejecting argument that survey experts should be excluded because control was not

visible where “the screen contained instructions to click to enlarge … and to stay in

the study, respondents had to affirm that they could see the sunglasses”); Active

Sports Lifestyle USA LLC v. Old Navy, LLC, No. SACV1200572JVSEX, 2013 WL

11239385, at *15 (C.D. Cal. Nov. 21, 2013) (where the “survey took steps to ensure

the depictions were accurately presented, including eliminating from the survey any

consumer who tried to complete the survey from a small smart phone display,”

whether images shown in a survey were too small or illegible was subject for cross-

examination).

      Medela’s second objection lies with the control stimuli images. [287-15] ¶ 190.

Medela argues that the wearable pump shown to the control group is so “drastically

different” from Think Green’s trade dress that it is invalid as a control. [303] at 6–7.

Pointing in particular to a pump manufactured by competitor Lansinoh, Medela

argues that this pump would have been a stronger or better control stimulus. Id. at

7. But Medela concedes that the selected control stimulus “fall[s] broadly under an



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umbrella of breastfeeding pumps.” Id.; see also [287-15] ¶ 143. In addition, as Harper

points out in her report, the control stimulus has some non-infringing similarities to

Think Green’s product: “they are both made of silicone, both clear and white in color,

and both with curves.” See [287-15] ¶ 142. It is also not too similar to Think Green’s

trade dress, id. ¶¶ 142, 146, a scenario that could present a different problem. See

Am. Nat’l Ins. Co. v. Am. Nat’l Inv. Advisors, LLC, No. 11-CV-4016, 2014 WL

6613342, at *17 (N.D. Ill. Nov. 21, 2014) (a control that “shares the very characteristic

whose influence is being assessed … does nothing to eliminate background noise from

the survey and undermines the survey’s probative value”). Although Medela criticizes

Harper for not using as a control stimulus one of the 10 “bottle-type one-piece silicone

breast milk collectors” identified in her report, [287-15] ¶ 73, each of those products

has a pear- or round-shaped collector, similar to Think Green’s product. Further, and

more to point: whether a better control stimulus existed, and whether Harper could

or should have presented that other control stimulus, is an inadequacy that bears on

the weight of the evidence and can be explored on cross-examination. See AHP, 1 F.3d

at 618; LG Elecs., 661 F. Supp. 2d at 956; see also Fortune Dynamic, Inc. v. Victoria’s

Secret Stores Brand Mgmt., 618 F.3d 1025, 1037–38 (9th Cir. 2010).

      In support of its argument, Medela points to a number of cases in a lengthy

and perfunctory string citation, but nearly all are word mark (not trade dress) cases,




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and none require a survey’s exclusion should the survey fail to use the best available

control stimuli.6 [303] at 8.

       Test Stimuli in Post-Sale Confusion Survey: Medela next criticizes the

post-sale confusion survey’s test stimuli as failing to “reflect real-world conditions in

which consumers are likely to encounter the products.” Id. at 14. This argument is

difficult to discern. The post-sale confusion survey test stimuli is a compilation of four

photographs, pictured above at page 16, which show a woman using the pump while

breastfeeding, washing the pump, storing it in a purse, and pouring milk from it.

[287-15] ¶ 184.      These are typical uses of a pump.            Medela offers no further


6 mySimon largely concerned the uses of the name “Simon” in a web address and the expert’s

failure to include a control group that also used the name “Simon” in its web address. 104 F.
Supp. 2d at 1045–46; see also id. (explaining that this omission failed to account for “the fact
that the name ‘Simon’ is used extensively on the Internet for commercial purposes” and that
“[t]hose many other uses clearly do not infringe plaintiff’s trademark rights”). Medela does
not link the reasoning in Simon to its argument here. In Reed-Union Corp. v. Turtle Wax,
Inc., 869 F. Supp. 1304, 1311 (N.D. Ill. 1994), aff’d, 77 F.3d 909 (7th Cir. 1996), the control
stimulus (a bottle of car wax) was found to be improper because it was prominently
emblazoned with a brand name, while the brand name on the test stimulus was printed in
small lettering, on the back of the bottle. As the court in Reed explained: the “control product
could not measure inherent confusion in the marketplace because it prominently identified
the maker.” Id. Medela does not make that argument here. ConAgra, Inc. v. George A. Hormel
& Co. was neither a summary judgment order nor a Daubert analysis, but a magistrate
judge’s findings pursuant to a bench trial. 784 F. Supp. 700, 730 (D. Neb. 1992). In these
findings, though the magistrate judge critiqued the survey’s control group, he specified that
“[t]his of course does not mean the Kaplan study is irrelevant.” Id. In Cumberland Packing
Corp. v. Monsanto Co., which concerned allegedly infringing packaging, the court determined
that the survey was unreliable in part because “the two most common reasons people gave
for” confusing the packaging were irrelevant to the claimed trade dress. 32 F. Supp. 2d 561,
574–75 (E.D.N.Y. 1999). Cumberland explained that “appropriate controls should have been
designed to net out confusion based on these two variables,” id. at 575, but Medela does not
make an argument premised on the survey responses here. The Court is similarly
unpersuaded by Medela’s reliance on National Football League Properties, Inc. v. ProStyle,
Inc., 57 F. Supp. 2d 665 (E.D. Wis. 1999). [303] at 2. There, survey results were inadmissible
because “[t]he main problem with the survey … is that it essentially asks only one question,
‘What, if anything, do you think of when you see this shirt?’, without further probing … and
without showing any ‘control’ shirt to any survey respondents or asking any control
questions.” Id. at 668. As already explained, those are not flaws in Harper’s survey.
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explanation as to why these images fail to “reflect real-world instances in which a

substantial portion of consumers have the possibility of encountering these products.”

[303] at 14.

       Medela vaguely alludes to the “obvious intimate and exposed nature of using

a collector” as a reason that the images utilized are “unlikely.” Id. at 14–15 (citing a

1994 out-of-district case concerning the “inherently concealed nature of worn

underwear”); see also [330] at 14 (arguing that only “some vanishingly small number

of those privy to these private moments” would actually witness the parties’ products

in use). But a woman (or man) washing or storing a pump is not the same as an

individual exposing one’s underwear. Nor is the act of pouring breast milk from a

pump into a bottle. (Is the act of pouring baby formula into a bottle similarly

“intimate”?) Even the act of using a pump is not so inherently “intimate” that a

consumer would be unlikely to have encountered someone using one. That is

particularly true when the consumer in question either purchased a pump in the last

year or is considering purchasing one in the coming year, as the consumers in this

survey said they did or were. As Medela well knows, pumps are not just used in small,

darkened rooms. In homes, they are openly used in communal living spaces. In office

settings, they may need to be used in shared lactation rooms. Resourceful women also

use them on airplanes, in locker rooms and the lounge areas of public bathrooms, at

parks, and on playdates—truly, the list goes on and on.7


7 This type of flexibility and ingenuity is critical given how long U.S. infants are typically

breastfed. As Harper notes (in a portion of her report that Medela does not challenge), about
60% of infants are breastfed at the six-month mark and 35% at the one-year mark. [287-15]
¶ 34.
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      What images Harper should have presented to better represent the “obvious

intimate and exposed” nature of using a breast pump, Medela does not say. In any

event, whatever Medela’s argument, it affects the weight of the evidence—not its

admissibility.

      Test Stimulus in Secondary Meaning Survey: Medela argues that the test

stimulus Harper used in her secondary meaning survey was “fundamentally flawed”

because it failed to isolate the trade dress. [303] at 10–11. It points to the inclusion

of the “distinctive ridge around the breast shield” visible in the test stimulus, as

depicted immediately below, even though Think Green disclaimed this ridge in its

trade dress. Id. at 11.




      To support its assertion that “a secondary meaning test stimulus must isolate

the trade dress at issue,” Medela cites Handelman’s Guide to TTAB Practice, Second




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Edition, § 18.15. Id.8 But the quoted portion of Handelman’s Guide specifically directs

that “[i]f the image used in the stimulus differs from the mark shown in the

application or registration drawing”—as Medela alleges here—“the difference will

weigh against the probative value, if any, to be accorded to the survey.” Id. In other

words, Medela’s own source instructs that the weight to be assigned to the secondary

meaning survey is a question for the jury—not one of admissibility.

         Use of Functional Stimuli To Assess Non-Functional Trade Dress:

Medela next argues that Harper’s surveys did not test the asserted trade dress,

because the “shield-bulb-base” arrangement featured in the stimuli is functional.

[303] at 11; id. at 12 (“Because Ms. Harper’s opinions on secondary meaning rely upon

a design that Plaintiff has not established is non-functional, her evidence is

irrelevant.”). This argument mirrors a central theory of Medela’s summary judgment

motion: that Think Green’s asserted trade dress is functional and therefore cannot be

protected. See generally [287]. The Court will address this argument when it resolves

Medela’s motion for summary judgment.




8 Medela also cites to “THOIP, supra.” [303] at 10. The Court assumes that Medela is
referring to THOIP, 690 F. Supp. 2d at 231, which it cited just above this passage. See [303]
at 10. However, page 231 of THOIP discusses survey methodology generally, and does not
appear directly relevant to Medela’s argument as to the adequacy of a secondary meaning
test stimulus. Medela may also be referring to page 240 of THOIP, which it cited earlier in
its brief. See [303] at 3 (quoting THOIP’s direction that “a control should share as many
characteristics with the experimental stimulus as possible, with the key exception of the
characteristic whose influence is being assessed.” 690 F. Supp. 2d at 240 (cleaned up)). But
this passage of THOIP does not support Medela’s argument that “a secondary meaning test
stimulus must isolate the trade dress at issue”: rather, it directs quite conversely that a
control stimulus must contain the key unprotectable elements of the test stimulus. Id.
                                             23
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       Net Secondary Meaning Calculation: Medela argues that Harper’s

secondary meaning calculation is “fundamentally flawed” because, in calculating net

secondary meaning, she failed to subtract a particular number from the results—

which differs from the methodological choice made by Medela’s expert, Botner. [303]

at 13. Harper, however, has laid out her reasons for employing the methodology that

she did and, in so doing, amply conveys that her calculations were a considered choice,

not the result of fatal error or oversight. See generally [287-15] ¶¶ 240–44; [315–20].9

       At the end of the day, the two experts analyzed the same data, but came to

different conclusions about its meaning. That leaves the Court with a “battle of the

experts” situation that is inappropriate for dispensation in a Daubert motion and

must be left for the factfinder to resolve. See Gicla v. United States, 572 F.3d 407, 414

(7th Cir. 2009) (“Although those professionals were commenting largely on the same

body of evidence relating to [plaintiff’s] course of treatment, they came to directly

contradictory conclusions as to what that evidence revealed …. So the case …

presented a classic battle of the experts.”); In re Dealer Mgmt. Sys. Antitrust Litig.,

581 F. Supp. 3d 1029, 1057 (N.D. Ill. 2022) (“Both parties’ opinions are based on data,

which can be interpreted in different ways. It is up to the factfinder to evaluate the

quality and relative persuasiveness of that data.”); Godinez v. City of Chicago, No. 16

CV 7344, 2019 WL 5290900, at *3 (N.D. Ill. Oct. 18, 2019) (“That Defendants’ experts

disagree with Dr. Leestma’s interpretation of the data goes to the weight of Dr.




9 The Court addresses Medela’s efforts to strike Harper’s rebuttal declaration later in this

opinion.
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Leestma’s opinion, not its admissibility.”) (citing Stollings v. Ryobi Techs., Inc., 725

F.3d 753, 765 (7th Cir. 2013)).

       Data Supporting Secondary Meaning Opinion: Medela argues that

Harper’s report “fails to substantiate the connection between these data points with

[its] conclusions that these were purportedly successful in connecting Think Green as

the source of the trade dress in the minds of relevant consumers.” [303] at 13–14

(emphasis added). By “these data points,” Medela appears to be referencing the entire

universe of “sales data, advertising expenditures, awards, social media followers,

[etc.] [sic]” in Harper’s report. Id. at 13. But Medela does not actually cite to “these

data points” or describe them with any degree of specificity. The Court will not guess

at them, nor will it develop Medela’s argument for it. United States v. 5443 Suffield

Terrace, Skokie, Ill., 607 F.3d 504, 510 (7th Cir. 2010) (“[S]ummary judgment may

only be defeated by pointing to admissible evidence in the summary judgment record

that creates a genuine issue of material fact, and it was not the district court’s job to

sift through the record and make Connors’s case for him.”).

           3. Admissibility of Harper’s Rebuttal Declaration

       Think Green attaches a rebuttal declaration from Harper to its response to

Medela’s motion for summary judgment in which Harper responds to Medela’s

criticism of her net secondary meaning calculation. [315-20]. Medela moves

under Rule 37 of the Federal Rules of Civil Procedure to strike this declaration. [331].

Focusing heavily on one paragraph of the declaration, [315-20] ¶ 13,10 Medela argues


10 Harper’s rebuttal has two paragraphs labeled ¶ 13. For purposes of this discussion, the

Court will use ¶ 13 to refer to the first of the two so labeled paragraphs.
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that the declaration comes too late11 and represents an improper effort to supplement

the experts’ original disclosures of opinions as required under Rule 26(a)(2).

      Rule 26(a)(2)(B) mandates that expert reports “contain a complete statement

of all opinions to be expressed and the basis and reasons therefor.” Rule 37 provides

in relevant part that a party may not rely on evidence that was not disclosed in

violation of Rule 26, unless that party has either a substantial justification or the

information is harmless. But “[w]hile Rule 26 demands that expert disclosures be

‘complete,’ there is no requirement that such disclosures cover any and every

objection or criticism of which an opposing party might conceivably complain.”

Allgood v. Gen. Motors Corp., No. 102CV1077DFHTAB, 2006 WL 2669337, at *5 (S.D.

Ind. Sept. 18, 2006).

      For example, as then-District Judge Hamilton explained in Allgood, “an expert

need not stand mute in response to an opposing party’s Daubert motion. Otherwise,

if the expert needed to anticipate and rebut every possible criticism, expert witness

practice would become even more expensive and unwieldy.” Id. Rebuttal declarations

that respond to an opposing party’s specific criticisms or harmlessly repeat earlier-

provided information do not violate Rules 26 or 37. Id.; see also Elorac, Inc. v. Sanofi-

Aventis Can., Inc., No. 14C1859, 2016 WL 11942749, at *1 (N.D. Ill. Oct. 4, 2016) (an

expert’s report that “addresses criticisms he has not yet had an opportunity to

address” and is “firmly grounded in the opinions disclosed in his expert report and


11 The parties’ scheduling order did not impose a deadline for reply reports. [206]. Expert

discovery closed on May 20, 2024. [257]. Think Green filed Harper’s rebuttal declaration
along with its response in opposition to Medela’s motion for summary judgment on October
11, 2024. See [315-20].
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serves merely to clarify them” is not a supplemental report and does not violate Rules

26 or 37); GC2 Inc. v. Int’l Game Tech., No. 16 C 8794, 2019 WL 12528940, at *2 (N.D.

Ill. Jan. 16, 2019) (a rebuttal declaration that “reaffirm[ed] an earlier critique … does

not run afoul of Rules 26 or 37”).

      In her short rebuttal declaration, Harper responds to what she describes as

“mischaracterization” and criticism Medela offered in its summary judgment briefing.

[345] at 3–4 (citing [282] ¶ 50; [315-20]). More specifically: Harper explains that there

are multiple ways of calculating net secondary meaning and why she chose her

particular method of calculation. [315-20] ¶¶ 6–11. At the conclusion of her rebuttal,

Harper performs an alternate method of calculation that “[s]ome sources indicate [is]

also appropriate,” which she claims—consistent with her previously expressed

opinion—“shows that the trade dress is strong.” Id. ¶ 13.

      Harper’s rebuttal declaration remains “firmly grounded” in the opinions she

expressed in her original expert report. Allgood, No. 102CV1077DFHTAB, 2006 WL

2669337, at *5. It is not a “[n]ever mind,” a “do-over,” or a “disavow[al].” Contra [331]

at 3, 5. The only arguably new opinion that Harper provides in rebuttal is limited to

Paragraph 13, in which she sets forth an alternative calculation method that leads to

the same conclusion as her original report. Because this is the type of responsive

report that is permitted under Rules 26 and 37, the Court denies Medela’s motion to

strike Harper’s rebuttal declaration.




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      B. Cynthia Cohen

      Cynthia Cohen, who Medela proffers as an expert in areas related to

psychology and consumer research, reached the following conclusion based on her

analytical work: “offering the Medela breast milk collector on the Amazon platform

does NOT cause consumer confusion.” [294-2] at 29. Think Green moves to strike this

conclusion and the entirety of Cohen’s expert report pursuant to Rule 702 and

Daubert, 509 U.S. at 579. See generally [292]. For the reasons that follow, the Court

denies Think Green’s motion.

         1. Admission of Expert Testimony, Generally

      Like survey evidence, the admission of expert testimony more generally is

governed by Rule 702 and the principles outlined in Daubert, 509 U.S. at 579. See

Bielskis v. Louisville Ladder, Inc., 663 F.3d 887, 893 (7th Cir. 2011). Rule

702 provides that expert testimony is admissible if:

      the proponent demonstrates to the court that it is more likely than not
      that: (a) the expert’s scientific, technical, or other specialized knowledge
      will help the trier of fact to understand the evidence or to determine a
      fact in issue; (b) the testimony is based on sufficient facts or data; (c) the
      testimony is the product of reliable principles and methods; and (d) the
      expert’s opinion reflects a reliable application of the principles and
      methods to the facts of the case.

Fed. R. Evid. 702. Put another way, the Court “must engage in a three-step analysis

before admitting expert testimony.” See Gopalratnam v. Hewlett-Packard Co., 877

F.3d 771, 779 (7th Cir. 2017) (quoting Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644

(7th Cir. 2010)). “It must determine whether the witness is qualified; whether the




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expert’s methodology is scientifically reliable; and whether the testimony will ‘assist

the trier of fact to understand the evidence or to determine a fact in issue.’” Id.

      Think Green challenges the admissibility of Cohen’s expert report on all three

grounds: qualifications, reliability, and relevance. The Court addresses each in turn.

          2. Cohen’s Qualifications

      Under Rule 702, an expert is qualified “by knowledge, skill, experience,

training or education.” Fed. R. Evid. 702. “This is a liberal standard; the expert need

only have some specialized knowledge that would assist the trier of fact.” Africano v.

Atrium Med. Corp., 561 F. Supp. 3d 772, 776 (N.D. Ill. 2021) (cleaned up).

      Establishing whether a witness is qualified as an expert “can only be

determined by comparing the area in which the witness has superior knowledge, skill,

experience, or education with the subject matter of the witness’s testimony.” Gayton

v. McCoy, 593 F.3d 610, 616 (7th Cir. 2010) (quoting Carroll v. Otis Elevator Co., 896

F.2d 210, 212 (7th Cir. 1990)). Specifically, courts “must look at each of the

conclusions [the expert] draws individually to see if [s]he has the adequate education,

skill, and training to reach them.” Hall v. Flannery, 840 F.3d 922, 926 (7th Cir. 2016).

Courts may “consider a proposed expert’s full range of practical experience as well as

academic or technical training when determining whether that expert is qualified to

render an opinion in a given area.” Smith v. Ford Motor Co., 215 F.3d 713, 718 (7th

Cir. 2000).

      The parties seem to agree that Cohen’s proffered conclusion and underlying

analysis concerns the likelihood of confusion in trade dress cases. [293] at 2; [320] at



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2. The next question is whether Cohen has “adequate education, skill, and training”

to support her expert opinions. Hall, 840 F.3d at 926. Medela argues that she does,

citing her publications, speeches, and court appearances as an expert witness

concerning consumer surveys.12 [320] at 3. It further argues that Cohen’s experience

conducting consumer surveys related to trademark disputes is relevant to trade dress

disputes, as the methodology between the two topics is largely interchangeable. [320]

at 4.

        For its part, Think Green argues that Cohen is not an expert on trade-dress

likelihood of confusion because she:

   •    lacks relevant marketing training, education, or experience, “that is essential
        for a likelihood of confusion analysis,” [293] at 5;

   •    has never testified in court before a trier of fact, id. at 6;

   •    cannot recall being present for a court’s ruling on her qualifications, id.;

   •    has never been qualified to testify as a likelihood of confusion or survey-design
        expert prior before the preliminary injunction hearing in this matter, id., and

   •    had not yet conducted any likelihood of confusion surveys before 2021, when
        Think Green filed its complaint, id.

There is a prevailing theme across several of these criticisms: that Cohen’s limited

prior experience as an expert or witness renders her unqualified. The Court affords




12 First, though, Medela points out that the court previously assigned to this matter twice

denied Think Green’s motions to strike Cohen’s testimony. [320] at 1, 2. Yet in neither denial
did the previous court assess Cohen’s qualification. See generally [96]; [185]. Indeed, the first
denial took place in the context of a preliminary injunction hearing, where there was no jury,
so there was no real gate-keeping function for a court to play. See City of Evanston v. N.
Illinois Gas Co., 381 F. Supp. 3d 941, 948–49 (N.D. Ill. 2019).
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no weight to these criticisms as “there is a first time in court for every expert.” United

States v. Parra, 402 F.3d 752, 758 (7th Cir. 2005).

      With respect to Think Green’s remaining critiques of Cohen’s qualifications:

Think Green concedes that Cohen has at least twice previously opined on likelihood

of confusion in trademark cases, designed and implemented “a handful of trademark

surveys,” and received praise for conducting a “consumer attitudes” survey for the

International Trademark Association. [323] at 6–7. It argues, however, that because

trademarks are so different from trade dress and because “consumer attitude”

surveys are so different from “likelihood of confusion” surveys, Cohen is not qualified

to opine on matters of likelihood of confusion in a trade dress case. Id. at 7. Ordinarily,

however, courts do not require that an expert be a specialist in a given field. Hall,

840 F.3d at 929 (quoting Gayton, 593 F.3d at 617). Rather, that an expert does not

specialize in a certain field goes to the weight of the opinion—not its admissibility.

See Africano, 561 F. Supp. 3d at 777; Huntington Chase Condo. Ass’n v. Mid-Century

Ins. Co., 379 F. Supp. 3d 687, 700 (N.D. Ill. 2019) (“[W]hile experts’ lack of

specialization in a specific subfield or technology may affect the weight of the opinions

they express, it does not preclude the admissibility of those opinions.”); Prayitno v.

Nextep Funding LLC, No. 17 C 4310, 2019 WL 6497374, at *6 (N.D. Ill. Dec. 3, 2019)

(“It is clear that Mr. Forster possesses certain specialized knowledge that may assist

the trier of fact, and to the extent that plaintiff argues that it is not narrowly

specialized enough in the relevant field to point to the correct conclusion, the way to

test his expertise is not at the threshold in a Daubert motion, but at trial though



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opposing evidence or cross-examination.”). In a similar vein, “shaky” expert testimony

still may be admissible, “assailable by its opponents through cross-examination at

trial.” Gayton, 593 F.3d at 616.

      Applying these principles to the circumstances here: “A consumer behavioral

expert is not so irrelevant as to be unqualified to testify to help the jury determine

whether there exists likelihood of confusion, secondary meaning, or functionality.”

Bobcar Media, LLc v. Aardvark Even Logistics, Inc., 554 F. Supp. 3d 606, 612

(S.D.N.Y. 2020). And Think Green “provides no support for its argument that

consumer survey research in trade dress litigation is sui generis such that an expert’s

lack of experience in designing these specific surveys necessarily disqualifies h[er]

from giving an expert opinion.” Belk, Inc. v. Meyer Corp., 679 F.3d 146, 162 (4th Cir.

2012). Think Green tries to distinguish Belk by arguing that the appeals court there

“credited the expert with having been qualified as an expert witness in consumer

behavior and marketing in about 20 cases throughout his career” and further noted

“that much of the expert’s previous consulting projects included creating, designing,

and evaluating consumer surveys and interpreting consumer research.” [293] at 5

(discussing Belk). But as Medela points out, Cohen shares similar credentials. She

has been recognized by the International Trademark Association for her work

developing a tool “measuring consumer attitudes towards brands, counterfeits, brand

enforcement, and the ways consumers view the media”; she has served as a consumer

survey expert in at least 14 federal cases; and she is an author and invited speaker

on topic of consumer surveys. [320] at 1–4.



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       As another district court has persuasively reasoned, the “expertise most

germane” to a “determination of whether a particular trademark or trade dress as

acquired a secondary meaning … involves training or experience performing

empirical analyses.” See LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A., 209 F.

Supp. 3d 612, 639 (S.D.N.Y. 2016), aff’d sub nom. LVL XIII Brands, Inc. v. Louis

Vuitton Malletier SA, 720 F. App’x 24 (2d Cir. 2017). By this measure, Think Green

effectively has conceded Cohen’s qualifications. In Think Green’s own words, Cohen

has acted as a “survey expert in a number of cases”; is an “expert in … community

attitude surveys, gender surveys, and attorney perception surveys”; has performed a

“handful of trademark surveys”; and testified twice on her opinions related to

trademark likelihood of confusion surveys. [293] at 5; [323] at 6.13

       Nor does Think Green explain its fixation on Cohen’s lack of expertise in

marketing consumer products. Although Think Green criticizes Cohen for not having

“essential” experience, education, or training in marketing, it does not draw any link

between “a professional marketing background” and trade dress likelihood of




13 Think Green cites Radiance Foundation, Inc. v. National Association for the Advancement

of Colored People as supportive of the contention that “general expertise in the area of surveys
and marketing is not sufficiently specialized to assist in deciding” on issues of trademark
dilution and likelihood of confusion. 27 F. Supp. 3d 671, 675 (E.D. Va. 2013). However, as
Medela points out, the expert witness in Radiance Foundation was permitted to testify
concerning principles and methodologies of consumer surveys, but could not testify as to
trademark matters, because she was unfamiliar with basic trademark law concepts. Id. at
675–677. For example, that expert misunderstood concepts of trademark dilution and
consumer confusion in her deposition and admitted to her unfamiliarity with trademark law
and consumer surveys used to test dilution and confusion in trademark litigation. Id. at 676.
She also admitted to having Googled issues after filing her report, but before her deposition.
Id. Here, Cohen is indisputably familiar with trademark law concepts, and Think Green cites
no instances of her unfamiliarity with trade dress concepts.
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confusion surveys. [293] at 5; [323] at 7. The Court is not persuaded that an expert

who lacks a marketing degree or marketing experience should be automatically

precluded from opining on matters of trade dress: “The notion that Daubert …

requires particular credentials for an expert witness is radically unsound … Anyone

with relevant expertise enabling h[er] to offer responsible opinion testimony helpful

to judge or jury may qualify as an expert witness.” Tuf Racing Prods., Inc. v. Am.

Suzuki Motor Corp., 223 F.3d 585, 591 (7th Cir. 2000).

      For these reasons, the Court rejects Think Green’s invitation to exclude

Cohen’s expert testimony on likelihood of confusion based on her qualifications.

          3. Reliability of Cohen’s Methodology

      As explained earlier, the Court must ensure that an expert’s testimony is “the

product of reliable principles and methods; and ... reflects a reliable application of the

principles and methods to the facts of the case.” Fed. R. Evid. 702. The question of

reliability requires an assessment of the “validity of the methodology employed by an

expert, not the quality of the data used in applying the methodology or the conclusions

produced.” Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 806 (7th Cir. 2013).

      Think Green argues that Cohen’s likelihood of confusion survey relied on

improper methodology. In Cohen’s survey, respondents were shown the stimulus

image of Medela’s pump “as it had been displayed on the Amazon platform.” [294-2]

at 9. With the stimulus picture still available on the screen, respondents were asked

open-ended questions meant to assess whether confusion was likely. Id. For example,

respondents were asked “if you have an opinion, what company or organization



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makes or puts out this breast milk collector” and if the respondent had an opinion,

whether the respondent “believe[d] that this breast milk collector is affiliated with or

sponsored by any other company.” Id.

      Think Green takes issue with Cohen’s methodology of showing respondents the

stimulus picture while the respondents answered the survey questions. According to

Think Green, this is “a major flaw” that “departs from typical marketplace

conditions.” [293] at 8. To support its argument, Think Green cites secondary source

literature describing the concept of “demand effects,” which “are produced when

respondents use cues provided by the survey procedures and questions to figure out

the purpose of the survey and to identify the ‘correct’ answers to the questions they

are asked.” Id. at 9 (quoting Ran Kivetz & Itamar Simonson, Demand Effects in

Likelihood   of   Confusion    Surveys:    The Importance of Marketplace Conditions,

in TRADEMARK AND DECEPTIVE ADVERTISING SURVEYS 243 (2012)). Think Green

contends that presenting a respondent with a stimulus and a question

simultaneously impermissibly creates “demand effects” by “placing an undue focus

on the branding included with a product listing.” Id. But Think Green does not

explain—at least not to a degree that the Court finds persuasive—how a survey that

displays the stimulus and questions at the same time produces such “demand effects,”




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but one that displays the stimulus and questions on pages viewed sequentially (but

realistically, still within a short very timeframe) does not.14

       For its part, Medela points to a series of cases and secondary sources

concluding that presenting the stimulus while the respondent answers the survey is

“in accordance with well-established survey methodology.” [320] at 6–7. It also

explains—credibly, in this Court’s view—that because “[a] consumer would be staring

directly at the product, together with its packaging and description, at the moment

he/she made the decision to purchase (e.g., clicked ‘Add to Cart’),” the methodology

underlying Cohen’s survey sufficiently mimics marketplace conditions. Id. (citing

Cumberland Packing, 32 F. Supp. 2d at 578).

       In its reply brief, Think Green counters that leaving the stimulus image on the

screen is not actually reflective of typical marketplace conditions because when

Amazon shoppers add an item to their “cart,” the product image disappears, “leaving

a mere thumbnail without the same brand-identifying textual content.” [323] at 1.

This argument—which was absent from Think Green’s opening brief—comes too late.

“[R]eply briefs are for replying,” not raising new arguments. United States Sec. &

Exch. Comm’n v. Benger, 64 F. Supp. 3d 1136, 1140 (N.D. Ill. 2014); United States v.




14 To support this point, Think Green cites one case’s criticism of “survey[s] that use[] stimuli

that differ from what a consumer is actually likely to see in the marketplace” as lacking
probative value. Kargo Glob., Inc. v. Advance Mag. Publishers, Inc., No. 06 CIV 550 JFK,
2007 WL 2258688, at *10 (S.D.N.Y. Aug. 6, 2007). However, its argument—which concerns
the appearance of stimuli simultaneously with survey questions—does not appear related to
Kargo, which criticized a survey for asking respondents about an “ad” for plaintiff’s product
when the “ad” was actually “a page prepared by [plaintiff] as promotional material, designed
for viewing by [plaintiff’s] direct, business-to-business customers,” rather than designed for
viewing by end users. Id. at *11.
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Kennedy, 726 F.3d 968, 974 n. 3 (7th Cir. 2013). Think Green’s argument is also

perplexing. Even a thumbnail image of a Medela product still sports the Medela logo

on the product itself and accompanying box. [323-1] ¶ 4. Moreover, to the extent the

thumbnail image differs from what the consumer can see on the preceding page,

Think Green’s argument suggests that because a likelihood of confusion survey must

replicate market conditions, it must replicate them exactly. This would seemingly

turn “likelihood of confusion” surveys into a memory game. See Simon Prop. Grp.

L.P., 104 F. Supp. 2d at 1043 (“They make the proposed survey nothing more than a

meaningless memory game or word association exercise that bears no relationship to

the marketplace.”).

      As the Court already explained when denying Medela’s motion to exclude

Harper’s expert report, no survey is “foolproof,” and perfection is not required to clear

the Daubert bar. AHP, 1 F.3d at 618. Think Green has presented no argument that

any flaws in Cohen’s survey create one of the “rare” situations where a survey is so

fundamentally flawed “as to be completely unhelpful to the trier of fact and therefor

inadmissible.” AHP, 1 F.3d at 618. The arguments it raises concerning the

respondents’ reliance upon the text in the stimulus image are appropriate for cross

examination. [323] at 2–3.

          4. Relevance of Cohen’s Testimony

      Like Harper’s testimony, Cohen’s survey evidence concerning likelihood of

confusion will assist the jury in evaluating Think Green’s claim of trade dress

infringement. Think Green’s only arguments to the contrary are based on Cohen’s



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qualifications and the reliability of her methodology. [293] at 11. The Court has

rejected those arguments, and so the Court denies Think Green’s motion to exclude

Cohen’s expert report.

         C. Carsten Faltum

      Think Green also moves to strike portions of the expert report prepared by

Medela expert Carsten Faltum. [295]. Resolving Think Green’s motion to partially

strike is not necessary to resolving the parties’ summary judgment motions. See, e.g.,

Serrano v. Menard, Inc., 671 F. Supp. 3d 877, 883 (N.D. Ill. 2023) (denying Daubert

motion as moot when its resolution “is not necessary to resolving the summary

judgment motion”); Flagstar Bank, FSB v. Freestar Bank, N.A., 687 F. Supp. 2d 811,

821–22 (C.D. Ill. 2009) (“As the Court has determined that the expert report of Dr.

Butters is not essential to ruling on the present Motions for Summary Judgment, the

Court need not address the merits of Plaintiff's Motion to Strike. The Motion is

therefore moot.”). Think Green also hints that it may file a more robust motion to

strike Faltum’s report before trial. [296] at 1 (“There are many parts of Mr. Faltum’s

report that are problematic from a Daubert standpoint, but Think Green only

addresses those portions that Medela relies on in its recently-filed motion for

summary judgment.”). In the interest of efficiency and avoiding piecemeal litigation,

the Court therefore denies Think Green’s motion to partially strike without prejudice

to renewal.




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   III.   Motions for Summary Judgment

      A. Legal Standards

      Summary judgment is appropriate when “the pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). In determining

whether a genuine issue of fact exists, the Court must view the evidence and draw all

reasonable inferences in favor of the party opposing the motion. See Bennington v.

Caterpillar Inc., 275 F.3d 654, 658 (7th Cir. 2001). A genuine issue of triable fact

exists only if “the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Pugh v. City of Attica, 259 F.3d 619, 624 (7th Cir. 2001).

      B. Motions for Summary Judgment on Think Green’s Trade Dress
         Claim.
      Section 43(a) of the Lanham Act provides a cause of action against the

unauthorized use of “any word, term, name, symbol, or device, or any combination

thereof ... which ... is likely to cause confusion ... as to the origin, sponsorship, or

approval of his or her goods.” 15 U.S.C. § 1125(a). Section 43(a) may apply to protect

the design of a product when the resulting appearance is used to identify the

product—the “trade dress”—as well as trademarks. See 15 U.S.C. § 1125(a)(3)

(describing cause of action for “trade dress infringement”); Wal–Mart Stores, Inc. v.

Samara Bros., Inc., 529 U.S. 205, 210 (2000). To prove trade dress infringement, a

plaintiff must show: “(1) its trade dress is inherently distinctive or has acquired

secondary meaning; (2) the similarity of the defendant’s trade dress to that of the


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plaintiff creates a likelihood of confusion on the part of consumers; and (3) the

plaintiff’s trade dress is non-functional.” Comput. Care v. Serv. Sys. Enters., Inc., 982

F.2d 1063, 1067–68 (7th Cir. 1992) (cleaned up).

      Medela argues that Think Green has failed to raise a genuine dispute of

material fact as to any of these elements. On the second element alone, Think Green

takes the contrary stance, arguing that no genuine dispute of material fact exists that

the similarity of Medela’s trade dress to Think Green’s trade dress creates a

likelihood of confusion on the part of consumers. For the reasons that follow, the

Court disagrees with both parties.

          1. Secondary Meaning

      Trade dress is only protectable if it is distinctive. Thomas & Betts Corp. v.

Panduit Corp., 138 F.3d 277, 291 (7th Cir. 1998). Distinctiveness can be shown if the

trade dress is inherently distinctive or if it has acquired a “secondary meaning.” Id.

A product acquires a secondary meaning when consumers link its appearance with

its producer. Wal-Mart Stores, 529 U.S. at 211; see also Pride Commc’n Ltd. P’ship v.

WCKG, Inc., 851 F. Supp. 895, 901 (N.D. Ill. 1994) (“Secondary meaning is described

as showing that the primary significance in the minds of the consuming public is not

the product but the producer.”).

      Secondary meaning can be established through direct consumer testimony,

consumer surveys, length and manner of use, amount and manner of advertising,

volume of sales, place in the market, and evidence of intentional copying. See

Packman v. Chicago Tribune, 267 F.3d 628, 641 (7th Cir. 2001). Consumer surveys



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are the best, most direct evidence of secondary meaning because they show what is

in the minds of the product’s consumers. See S.A.M. Elecs., Inc. v. Osaraprasop, 39 F.

Supp. 2d 1074, 1083 (N.D. Ill. 1999); Minemyer v. B-Roc Representatives, Inc., 678 F.

Supp. 2d 691, 704 (N.D. Ill. 2009).

      To show that its pump has acquired secondary meaning, Think Green puts

forth Harper’s secondary meaning survey and other evidence concerning its sales

volume, advertising, and intentional copying. As explained next, Think Green’s

evidence prevents judgment as a matter of law in Medela’s favor on secondary

meaning.

      Harper’s Secondary Meaning Survey: From her survey, Harper concluded

that Think Green’s pump had acquired secondary meaning. See [314] at 19; [287-15]

¶ 256. In arguing that Think Green has failed to put forth evidence that its pump has

acquired secondary meaning, Medela repeats the criticisms of Harper’s work that it

advanced when seeking to bar her report altogether. [288] at 16–20. The Court rejects

these criticisms for the same reasons it has already provided.

      In addition, when resolving a motion for summary judgment, the Court cannot

do as Medela suggests and discount Harper’s testimony. Thomas & Betts, 138 F.3d

at 293 (“[I]t is not the province of the district court to so discount testimony on a

motion for summary judgment; it must make all reasonable inferences in favor of the

non-movant.”). The Court already has determined that Harper’s proffered testimony

meets the Daubert threshold of relevance and reliability; it is now up to the jury to

determine the credibility, accuracy, and weight of that evidence. Lapsley v. Xtek, Inc.,



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689 F.3d 802, 805 (7th Cir. 2012); Stollings, 725 F.3d at 765 (“The jury must still be

allowed to play its essential role as the arbiter of the weight and credibility

of expert testimony.”).

      Sales Volume: Evidence of a product’s commercial success is entitled to

greater weight when held next to the time the product has been on the market. See

Turtle Wax, Inc. v. First Brands Corp., 781 F. Supp. 1314, 1324 (N.D. Ill. 1991). For

example, the claim that a product of a “venerable pedigree” has acquired secondary

meaning may be more likely than a claim of a “recent entry on the market” doing the

same. Heckler & Koch, Inc. v. German Sport Guns GmbH, 71 F. Supp. 3d 866, 921

(S.D. Ind. 2014).

      Here, the parties dispute, by a wide margin, how many pumps Think Green

has sold and the relevant time period of those sales. [288] at 20; [314] at 22. Neither

party explains the significance of these figures. Id. Still, Think Green has made at

least a minimal showing of its pump’s volume and history of sales. Heckler & Koch,

71 F. Supp. 3d at 921.

      Medela argues that Think Green’s figure alone is insufficient to establish

secondary meaning as well as that Think Green cannot establish secondary meaning

unless it is the exclusive producer of its trade dress. [288] at 20–21. Although it is

true that evidence of sales alone is often insufficient to establish secondary meaning,

Spraying Systems Co. v. Delavan, Inc., 975 F.2d 387, 393 (7th Cir. 1992), that is not

the case here. Think Green does not only present evidence of sales. As already

discussed, it puts forward the strongest possible evidence of secondary meaning via



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Harper’s survey results. It is up to the jury to determine what weight, if any, to afford

that survey. The volume of sales evidence and the degree to which Think Green may

(or may not be) the exclusive producer of its trade dress are simply other possible

indicia of secondary meaning.

      Advertising: Advertising which encourages consumers to identify the claimed

trade dress with the particular producer is evidence of secondary meaning. Thomas

& Betts, 138 F.3d at 292. Instead of precisely pointing to such advertisements,

though, Think Green merely gestures to the “millions of dollars” it spent on

advertising. [314] at 22. Think Green points to Harper’s estimated allocation of

“spending to the trade dress,” though it does not attempt to explain how these

“millions of dollars” are actually related to that trade dress. Id. But the flimsy nature

of this evidence and argument is immaterial where Think Green already has

established a genuine dispute of fact as to secondary meaning through Harper’s

survey results and by sales volume.

      Intentional Copying: Copying is only evidence of secondary meaning if the

defendant’s intent in copying is to confuse consumers and pass off his product as the

plaintiff's. Thomas & Betts, 65 F.3d at 663. Think Green refers the Court to the

“ample evidence” purporting to show Medela’s intent to copy its trade dress. [314] at

22. Medela disputes the meaning of the cited emails. [283] at 24 n.5. The significance




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of these emails is open to interpretation, and a jury is in the best position to perform

that job.15

          2. Likelihood of Confusion

       Think Green moves for summary judgment “on a narrow portion of its case”: a

finding in its favor that, as a matter of law, “confusion is likely in the post-sale context

as between the parties’ respective products.” [275] at 8. Post-sale confusion occurs

when a potential customer sees a product bearing the plaintiff’s trade dress and

mistakenly attributes the product to the plaintiff, thereby influencing his or her

buying decision, either positively or negatively. CAE, 267 F.3d at 683.16

       The likelihood of confusion is generally a factual question that is difficult to

resolve at summary judgment. See AHP, 1 F.3d at 616. It is a rare trade dress case

where the “evidence is so one-sided that there can be no doubt about how the question

[of whether likelihood of confusion exists] should be answered.” CAE, 267 F.3d at 677




15 Medela also disputes that other evidence of secondary meaning—such as industry awards

and media mentions—are sufficient to create a genuine issue of fact. [288] at 22–23. As noted
above, however, because Think Green has already created a genuine dispute of fact as to
secondary meaning, this evidence will advance to the jury.

16 As a procedural matter, the Court rejects Medela’s argument that Think Green’s motion is

“improper” under Federal Rule of Procedure 56(a). [316] at 3. Rule 56(a) explicitly
contemplates that a party may move for summary judgment on a “part of [a] claim or
defense.” Fed. R. Civ. P. 56(a) (emphasis added). There is also some discussion of Rule 56(g).
See [316] at 1; [340] at 3–4. This rule is “ancillary” to the ultimate summary-
judgment analysis and operates only to “salvage some results” from the time and resources
the Court spends in deciding an unsuccessful summary-judgment motion. Kreg Therapeutics,
Inc. v. VitalGo, Inc., 919 F.3d 405, 415 (7th Cir. 2019). Think Green could not have brought
its motion under Rule 56(g).
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(cleaned up).17 Perhaps unsurprisingly, the likelihood of confusion analysis is not a

straightforward one: It includes many non-dispositive factors, each weighed against

the other, and each assigned different weight depending on the facts of the case.

Thomas & Betts, 138 F.3d at 296. These factors include: (1) the similarity of the trade

dresses; (2) the area and manner of concurrent use; (3) the degree of care likely to be

used by consumers; (4) the strength of the plaintiff’s trade dress; (5) actual confusion;

and (6) the defendant’s intent to pass its product off as the plaintiff’s. Id.

       In contending that each of these factors weigh in favor of a finding of likelihood

of confusion, Think Green does not establish that the “evidence is so one-sided that

there can be no doubt about how the question should be answered.” CAE, 267 F.3d at

677. Instead, Think Green equivocates. For example, in arguing that its trade dress

and Medela’s trade dress are similar, it describes them as “nearly identical” in “most

respects,” despite “differences in the markings,” “the existence of a flange,” and “a

tiny rear loop.” [275] at 11–13. Then, in its reply brief, it attempts to minimize these

distinctions as “trivial,” “often not present or featured,” “barely if at all visible,” or

“somewhat obscured.” [340] at 5–6. In another instance, when discussing consumers’

degree of care, Think Green notes that its pumps are “relatively inexpensive”

(suggesting a lower degree of care) but also that their purchasers “tend to skew

slightly more educated than the general population” (suggesting a higher degree of

care). [275] at 13–14. It then writes that “it is not clear … that consumers would


17 Moreover, as the court earlier assigned to this case noted, Think Green is perhaps putting

the cart before the horse with this motion. The likelihood of confusion analysis is informed
by whether Think Green’s trade dress is protectable, [185] at 21, and Think Green concedes
that its ownership of a protectable trade dress remains unsettled. [275] at 9–10.
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exercise a higher degree of care distinguishing between products rather than relying

on [its] reputation.” Id. at 14. In other words, in both instances, Think Green has

weighed the conflicting evidence and decided that it comes out on top. E.g., id. at 14

(“To the extent that [the degree-of-care] factor carries much weight in the post-sale

confusion analysis, it favors Think Green.”).

      In moving for summary judgment, Think Green asks the Court to do the same.

But the Court cannot weigh the evidence: That task is reserved for the jury at trial.

Taylor v. City of Milford, 10 F.4th 800, 806 (7th Cir. 2021); see also Imperial Serv.

Sys. v. ISS Int'l, 701 F. Supp. 655, 658 (N.D. Ill. 1988) (questions regarding the degree

of similarity between two trademarks are “peculiarly jury questions”).

      In the same vein, when discussing two other factors, Think Green credits its

expert’s findings over the contrary findings and criticism of Medela’s expert. [275] at

16–17 (arguing that its trade dress is strong); 18 (arguing that actual confusion

exists); see also [340] at 11–14, 16–19 (defending its expert’s methodology and

criticizing Medela’s). But determinations of expert credibility are left for the jury.

Stollings, 725 F.3d at 765; see also Morningware, Inc. v. Hearthware Home Prods.,

Inc., No. 09 C 4348, 2012 WL 3721350, at *12 (N.D. Ill. Aug. 27, 2012) (denying

plaintiff’s motion for summary judgment because “[w]hile Mr. Berger’s survey

opinions provide a sufficient evidentiary basis for a jury to conclude that

Hearthware’s conduct caused actual consumer confusion, a jury could also find that

Mr. Berger’s survey methodology was flawed and thus created inaccurate results”).




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      Finally, Think Green puts forth excerpts of emails exchanged among Medela

employees as evidence that Medela intended to pass off its pump as Think Green’s.

[277] at 19–20; [278-5]. The excerpts are unconvincing for that purpose. In at least

some of the quoted emails, the employees discuss their desire to avoid copying Think

Green’s pump and—crucially—never evince a desire to pass their pump off as Think

Green’s. See [278-5] at 5 (“I do not believe this is a winning strategy.”); id. at 6 (“[W]e

need to be more innovative.”); id. at 7 (discussing potential advantages of Medela’s

pump over Think Green’s). “[I]nternal emails” that “can be read as indicating that

[the defendant] was actively trying to design a product that did not copy” a

competitor’s trade dress is such weak evidence of intentional copying that it is almost

without value. Competitive Edge, Inc. v. Staples, Inc., 763 F. Supp. 2d 997, 1016 (N.D.

Ill. 2010) (emphasis added), aff’d, 412 F. App’x 304 (Fed. Cir. 2011). Although other

email excerpts appear to support Think Green’s narrative, in asking the Court to

interpret this entire body of emails as unequivocal proof of Medela’s intent to pass off

Think Green’s trade dress as its own, Think Green is asking the Court to “choose

between competing inferences.” Abdullahi v. City of Madison, 423 F.3d 763, 773 (7th

Cir. 2005). Yet again, the Court cannot do so at summary judgment. Id.

      As for Medela’s competing summary-judgment motion, it argues that no

genuine dispute of material fact exists as to the absence of likelihood of confusion.

[288] at 24. Although Medela stakes out the opposite position from Think Green, its

argument proves just as unsuccessful. It hinges on critiques of Harper’s expert report

that the Court already has determined are for a jury to parse. Id. at 24–30.



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            3. Functionality

              1. Relevant Legal Background

       If a design is functional, it is not entitled to trade dress protection. Flexible

Steel Lacing Co. v. Conveyor Accessories, Inc., 955 F.3d 632, 644 (7th Cir. 2020). The

party asserting trade dress protection has the burden of proving that the design

sought to be protected is not functional. 15 U.S.C. § 1125(a)(3).

       A product design is “functional” and cannot serve as a trade dress if it is

essential to the use or purpose of the product, affects the cost or quality of the product,

or if the exclusive use of the design would put competitors at a significant non-

reputational disadvantage. TrafFix Devices, Inc. v. Mktg. Displays, Inc., 532 U.S. 23,

29 (2001); Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159, 165 (1995). In other

words, if the design allows the product to operate or improves it in some way—e.g.,

by making it cheaper, faster, lighter or stronger—the design is functional. Jay Franco

& Sons, Inc. v. Franek, 615 F.3d 855, 857 (7th Cir. 2010). A design does not need to

be the only, or the best, way to do things to be considered functional: It only needs to

represent one of many solutions to a problem. Arlington Specialties, Inc. v. Urban

Aid, Inc., 847 F.3d 415, 419 (7th Cir. 2017).

       The Seventh Circuit offers five factors useful for evaluating whether a certain

design is functional:

       1.     whether a utility patent involves or describes the design’s functionality;
       2.     the design’s utilitarian properties;
       3.     whether the product is advertised in a way that touts the design’s
              utilitarian advantages;
       4.     whether there are other designs that would serve the product’s purpose
              (or whether any other designs would be difficult to create); and

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       5.     the design’s effect on the product’s quality or cost.

Georgia-Pacific Consumer Prods. LP v. Kimberly-Clark Corp., 647 F.3d 723, 728 (7th

Cir. 2011). No factor alone is dispositive. Flexible Steel Lacing, 955 F.3d at 644.

However, if the design is otherwise shown to be functional (for example, through

evidence of a utility patent), evidence of alternative designs will not create a factual

issue of functionality. Id.

       If a plaintiff seeks to protect an overall design—in other words, a “particular

combination and arrangement” of elements—the Court evaluates the overall trade

dress, rather than focusing on the individual elements. Comput. Care, 982 F.2d at

1071 (rejecting an “atomized approach” of determining that certain features of a

design were functional).

       Functionality is fundamentally a question of fact. Specialized Seating, 616

F.3d at 726. To survive summary judgment, Think Green must raise a genuine issue

of material fact that its trade dress is non-functional. Heckler & Koch, Inc, 71 F. Supp.

3d at 915 (citing Clicks Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1262 (9th

Cir. 2001)). Though this is a factual question, “the bar for functionality is so low that

it can often be decided as a matter of law.” Arlington Specialties, Inc., 847 F.3d at

419–420.

              2. Think Green’s Asserted Trade Dress

       According to Think Green, its asserted trade dress is as follows:

       the first-of-its-kind three-part shield-collector-base configuration,
       wherein the collector is bulbous yet fits underneath the outer diameter
       of the shield and contains an ornamental rib in its top part, while the



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      base flares out from the bottom of the collector bulb to meet the surface
      upon which the whole unit rests.

[1] ¶ 18. This is the trade dress asserted in Think Green’s complaint. Id. It is also

how the court earlier assigned to this matter understood Think Green’s claim. E.g.,

[96] at 532–33; [185] at 3.

      As a preliminary matter, in moving for summary judgment, Medela claims that

Think Green has “re-defined” and “narrow[ed]” its trade dress through its trade dress

expert. [288] at 6–7. Think Green objects to this “redefinition,” appropriately pointing

out that a party’s expert cannot “redefine” its trade dress because trade dress is based

on a product’s “appearance and design,” not the words used to describe that

appearance. [315] ¶ 3. The Court thus understands Think Green’s asserted trade

dress to be the shield-bulb-base arrangement articulated in the complaint. It now

turns to assessing Medela’s claim that no genuine issue of material fact exists that

this three-part configuration is functional, using the five aforementioned factors

articulated in Georgia-Pacific.

             3. Factor 1: The existence of a utility patent

      Utility patents are excellent “cheat sheets” for determining functionality.

Georgia-Pacific, 647 F.3d at 728. Because the Patent and Trademark Office only

grants utility patents for “unique and useful” inventions, utility patents are “strong

evidence that the features therein claimed are functional.” TrafFix, 532 U.S. at 29,

31; see also 35 U.S.C. § 101 (an issued patent requires a conclusion by the Patent and

Trademark office that a product was sufficiently “new and useful”). If the “central




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advance” claimed in the utility patent matches the “essential feature” of the trade

dress, then there is a strong presumption that the design is functional. Id.18

       Medela argues that Think Green has conceded that the shield-bulb-base

arrangement is functional, not trade dress, through its affiliate’s19 filing of an

“international Patent Cooperation Treaty Utility Patent application” (“the ‘574

Application”). [288] at 10. Medela does not rebut Think Green’s assertion that the

‘574 Application “has not matured into an issued patent and was never ‘nationalized’

as a pending application in any country.” [314] at 10. Instead, Medela cites a Federal

Circuit opinion holding that “an applied-for utility patent that never issued has

evidentiary significance for the statements and claims made in the patent application

concerning the utilitarian advantages, just as an issued patent has evidentiary

significance.” [288] at 10; [341] at 3 (citing Valu Eng’g, Inc. v. Rexnord Corp., 278 F.3d

1268, 1279 (Fed. Cir. 2002)).

       But Medela does not explain why Valu Engineering—in which the Federal



18 Some examples of a patent’s “central advance” matching an “essential feature” of a trade

dress are: a temporary traffic sign’s dual-spring design, TraFix, 532 U.S. at 30; a child-safe,
leak-resistant container cap, Berlin Packaging, LLC v. Stull Tech., Inc., 381 F. Supp. 2d 792,
802 (N.D. Ill. 2005); a diamond lattice design, filled with signature bosses, embossed atop
toilet paper, Georgia-Pacific, 647 F.3d at 728 (7th Cir. 2011); a round wrench head with
symmetrically spaced gripping elements, LoggerHead Tools, LLC v. Sears Holding Corp., No.
12-CV-9033, 2016 WL 5112020, at *4 (N.D. Ill. Sept. 20, 2016); the “circular, convex” shape
of a thermostat, Eco Mfg. LLC v. Honeywell Int'l, Inc., 295 F. Supp. 2d 854, 874 (S.D. Ind.);
or the circular shape of a beach towel. Franek v. Walmart Stores, Inc., No. 08-CV-0058, 2009
WL 674269, at *14 (N.D. Ill. Mar. 13, 2009).

19 Ownership of the utility patent is irrelevant to this analysis. “The key is not who owns

these patents, but rather what they disclose.” In re Vishrup, 42 U.S.P.Q.2d 1403, 1405
(T.T.A.B.1997); see also McCarthy on Trademarks and Unfair Competition, § 7:89.30 (“A
functional utility patent is strong evidence of functionality regardless of who owns or owned
the patent.”).
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Circuit reviewed the Trademark Trial and Appeal Board’s consideration of an

abandoned patent application in determining whether certain design elements were

eligible for trade protection—should apply to a court’s Lanham Act analysis. See

Jenny Yoo Collection, Inc. v. Essence of Australia, Inc., 448 F. Supp. 3d 1162, 1172

(D. Kan. 2020) (declining to understand Valu Engineering as requiring a court to

consider the content of an abandoned patent application when assessing a trade dress

infringement claim brought under the Lanham Act); M3Girl Designs, LLC v. Blue

Brownies, LLC, No. 3:09-CV-2390-F, 2012 WL 12885058, at *2 (N.D. Tex. Mar 9,

2012) (same). Nor does Medela cite any other authority for the premise that a

pending, abandoned, or rejected patent application has the same effect as an issued

or expired patent. See Miche Bag, LLC v. Marshall Grp., 818 F. Supp. 2d 1098, 1104

(N.D. Ind. 2010) (finding no authority for the proposition that a pending patent

application has the same effect as an expired patent).

       As a result, the Court is not inclined to view the ‘574 Application as a reliable

indicator of the shield-bulb-base arrangement’s functionality. A never-approved

patent application, like the ‘574 Application, could include any number of useless

features that would never have passed muster with the Patent and Trademark Office.

Logically, only approved or expired utility patents carry indicia of reliability that a

feature was indeed “useful” rather than decorative.20


20 In its reply, Medela quotes 35 U.S.C. § 363, which allows that an “international application

designating the United States shall have the effect, from its international filing date under
article 11 of the treaty, of a national application for patent regularly filed in the Patent and
Trademark Office.” But Medela’s argument still does not explain how the Court can treat a
pending, unapproved patent application as proof of functionality.


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       Even if the Court did consider the ‘574 Application as part of its functionality

assessment, it still would not be persuaded that it evinces the functionality of Think

Green’s claimed trade dress. [288] at 10. To support this argument, Medela provides

a chart. Id. at 10–11.21 On one side of the chart, Medela lists features of Think Green’s

trade dress. Id. On the other side, it provides quotes from the English translation of

the ‘574 Application. Id. But nowhere does Medela identify the “central advance” of

the ‘574 Application or allege that it matches the “essential feature” of the claimed

trade dress. TrafFix, 532 U.S. at 29, 31. According to Think Green, the ‘574

Application “claims as its ‘central advance’ a way of making the outer perimeter of a

breast shield so that it better remains adhered to a woman’s breast under vacuum

pressure.” [314] at 10. But to support this claim, Think Green cites broadly (and

unhelpfully) to the entire 46-page ‘574 Application. Id.

       So the question remains: What is the “central advance” of the ‘574 Application?

Normally, in patents issued by the U.S. Patent and Trademark Office, courts look to

brief summaries of the invention, like the patent’s “abstract,” to ascertain its “central

advance.” See Franek v. Walmart Stores, Inc., 08-CV-0058, 2009 WL 674269, at *14

(N.D. Ill. Mar. 13, 2009), aff’d sub nom. Jay Franco & Sons, Inc. v. Franek, 615 F.3d

855 (7th Cir. 2010) (looking to the “brief summary of the invention” section to

determine the patent’s “central advance”); Georgia-Pacific, 647 F.3d at 728–29

(looking to the patent’s “abstract” section to determine its “central advance”). Here,


21 Some of these quotes appear taken out of context. The first quoted portion, for example,

only states that “[t]he breast pump flanges of most silicone breast pumps in related
technologies adopt” certain features. Id. at 1. This statement is relevant to “most silicone
breast pumps”—not Think Green’s pump specifically.
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however, the “summary” and “abstract” sections of the English language translation

of the ‘574 Application offer no assistance. [287-6] at 24–25, 40.

      There appear to be problems of translation, or clarity, or both. The “summary”

describes a breast pump that has “strong adsorption [sic] force and sufficient fixation

force, is not easy to fall off, can be used without hand.” [287-6] at 25. It goes on to

describe the pump as both “integrally formed,” but also states that it “does not include

many parts.” Id. The pump flange “is of a structure having an opening on each of two

ends.” Id. One end is connected to “an opening of the bottle body,” and at the other

end, “[a] seal ring is annually arranged.” Id. The “abstract” similarly describes an

“integrally manufactured” silicone pump consisting of a bottle body and flange. Id. at

40. Its focus seems to be on a “seal ring,” which as Think Green points out, is

disclaimed in its trade dress application. [314] at 10.

      At bottom, as far as the Court can tell, there is no easily discernable “central

advance” in the ‘574 Application and the parties’ briefs on this point are not helpful.

This is a problem for Medela, which has not persuasively shown the Court that the

“central advance” of an existing or expired patent matches the “essential feature” of

Think Green’s asserted trade dress. And although the absence of a utility patent does

not preclude the functionality of a design, the lack of a presumption of functionality

does make it considerably less likely that functionality can be determined on

summary judgment. See Heckler & Koch, 71 F. Supp. 3d at 915–16.




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             4. Factor 2: The design’s utilitarian qualities

      Relying on the opinions of one of its experts, Faltum, Medela argues that Think

Green’s asserted trade dress has utilitarian qualities, such that barring Medela from

using it would put Medela at a significant non-reputational disadvantage. [288] at

12. The Court is unpersuaded that Faltum’s opinions permit judgment as a matter of

law in Medela’s favor.

      Faltum opines that the shape of Think Green’s design is ideally suited for the

human hand, while other shapes are “awkward to hold, difficult to manipulate,

inferior in performance,” and less effective at creating a vacuum seal. [288] at 12–13.

To support these findings, Medela presents the images below:




Id. Citing a rebuttal declaration from its expert, Tim Fletcher, Think Green criticizes

these findings as “made up” and “facially nonsensical.” [314] at 13–14; [300-9] ¶ 4.

      The Court shares Think Green’s skepticism. Faltum’s images attempt to liken

three-dimensional pumps with two-dimensional shapes and to suggest that one two-

dimensional shape is easier to hold than the other, while fully disregarding the

prominent breast shield topping the pumps. These images and accompanying

analysis strike the Court as incomplete and overly simplistic and, therefore,

unpersuasive. See Comput. Care, 982 F.2d at 1071 (rather than “atomiz[ing]” trade

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dress into its separate parts, courts must take the overall combination and

arrangement into account). Moreover, between Faltum’s and Fletcher’s opinions, it is

the jury’s assessment of the two that matters, not the Court’s. Wipf, 519 F.3d at

385 (“[I]n a case of dueling experts ... it is left to the trier of fact, not the reviewing

court, to decide how to weigh the competing expert testimony.”).

       The same is true for Medela’s claim that the bulb design is more effective and

efficient at creating the vacuum “essential for these collectors.” [288] at 13. The jury

may determine what weight to afford this claim, which was based on a study Faltum

conducted that tested how much water various pumps could draw through a hose

from a beaker when the bulb was compressed and released. [287-12] at 14–15. As

Think Green points out, the testing only purported to “demonstrate that there is a

statistically significant difference in the efficiency with which liquid is collected by

one-piece silicone breast milk collectors as a consequence of their shape.” [287-12] at

15. Because the test did not appear to evaluate other potential utilitarian features of

a pump (such as adherence or comfort) whether this alleged difference in water-

drawing efficiency translates into a more effective vacuum “essential for these

collectors” remains a factual question.

       Medela also cites Faltum’s opinion regarding the utility of the pump’s rib

placement. Not only is this opinion disputed by Fletcher, [300-9] ¶ 12, but Think

Green also points to the Lansinoh pump, which is popular with consumers despite its

different rib placement. [314] at 15. Likewise, Fletcher disputes Faltum’s contention

that the pump, by virtue of its design, “comfortably fits the majority of women.” [288]



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at 13; [278-2] at 32. And Think Green counters Medela’s statement that the suction

base is ideal for stability, [288] at 14, by pointing to several other similar pumps that

use different types of non-suction bases to provide stability, [314] at 16–17.

      In short: Though Medela, through its expert, points to a laundry list of design

features it claims possess utilitarian qualities, [288] at 12–14, Think Green has raised

sufficient factual questions to survive summary judgement.

             5. Factor 3: The existence of advertising touting the design’s
                utilitarian qualities

      If a plaintiff’s advertising “unequivocally link[s]” its design to some functional

benefit(s), the Court may weigh those claims against the plaintiff’s claims of non-

functionality. See Georgia–Pacific, 647 F.3d at 730. For example, in Georgia-Pacific,

the plaintiff sought to protect its toilet paper’s quilted design. Id.           But in

advertisements, the plaintiff specifically touted its quilted design as offering

“thousands of places for moisture to go” and “exceptional softness and comfort.” Id.

The Seventh Circuit found that these advertisements “unequivocally linked” the

quilted design to functional benefits like absorbency, softness, and comfort. Id.

      Medela accuses Think Green of twice touting its design’s utilitarian

advantages. First, Medela alleges that Think Green “advertises [that] the

configuration of its breast shield advantageously accommodates different breast

sizes.” [288] at 9. To support this assertion, Medela cites to its fifth statement of

material fact, which alleges that Think Green “advertises, on its Haakaa Gen 2

product labels, that the configuration of its breast shield advantageously

accommodates different breast sizes.” [287] ¶ 5. To support that assertion, Medela

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cites generally to [287-3]. This exhibit appears to be a product label for the Haakaa

Gen. 2 pump. Id. The only piece of this label (shown below) that could possibly support

Medela’s allegation is the first of seven bullet points, which reads: “Accommodates

different breast sizes.” Id.




       As Think Green points out, this phrase only refers to the product’s

accommodation of breast sizes generally. [314] at 8–9. Nowhere in the product label

does Think Green explicitly attribute its pump’s “advantageous[] accomodat[ion]” of

different breast sizes to the breast shield’s “configuration.” To draw such a link, a

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factfinder would have to infer that only the “configuration” of the breast shield, as

opposed to any other aspect of the pump, could permit the accommodation of different

breast sizes. While this may end up being a reasonable inference for a juror to make,

because the cited advertisement itself draws no “unequivocal” link between the

pump’s accommodation of breast sizes and the breast shield’s “configuration,”

summary judgment would be inappropriate. Thomas & Betts, 138 F.3d at 299–300

(material question of fact excited concerning whether certain advertisements were

about the asserted design feature or other features of the product).

      Second, Medela alleges that Think Green’s marketing “emphasizes the utility

of its suction base.” [288] at 9. To support this assertion, Medela cites several

advertisements. Id. at 9–10. The first comes from Think Green’s online order page for

its Haakaa Generation 2 pump, [287-4] at 2, which is depicted next:




One sentence is relevant to Medela’s argument: “Available in two larger capacities of

100ml and 150ml, and with a new suction base that sticks to flat surfaces to prevent

accidental spills, it is the easiest and most simple way to express breast milk.” Id.




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      The second advertisement is a video on Think Green’s Amazon webstore for its

Haakaa Gen. 2 pump, which includes a video of the suction activated against a flat

surface and superimposed text reading: “Additional suction base sticks firmly to flat

surface to reduce falling risks.” [287] ¶ 7.




      The third advertisement, also from Think Green’s Amazon webstore, features

photographs of the suction base activated against a flat surface (with arrows

signifying its activation) and the removal of the suction base from the flat surface. Id.

¶ 8. Below the photographs are the words “Suction Base Design” and a bullet point

explaining that the “[s]uction base sticks securely to flat surfaces to remain upright

and prevent spill.” Id.




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      Each of these advertisements refers to the suction base generally. None refer

more precisely to the design of the pump’s suction base (e.g., its size or shape), or,

more importantly, the overall design of the pump. Comput. Care, 982 F.2d at 1071

(rejecting an “atomized approach” to functionality analysis). Nor did any of Think

Green’s advertising ever claim that its suction design features worked better than

other suction bases—for example, the advertisements never claimed that the flared

design had more sticking power, or that the size of the base or the way it connected

to the collection bulb offered more stability. See Bodum USA, Inc. v. A Top New

Casting Inc., 927 F.3d 486, 493 (7th Cir. 2019) (where a plaintiff’s advertising “never

claimed any of its design features worked better than other options … a reasonable

jury could weigh this evidence against a finding of functionality in the legal trade

dress sense”). In short, none of these advertisements urge consumers to purchase the

pump on the strength of any particular utilitarian quality of the suction base’s design.

See Heckler & Koch, Inc., 71 F. Supp. 3d at 918.

      For these reasons, the Court affords little weight to the advertisements Medela

cites in support of its functionality argument.

             6. Factor 4: The impossibility or difficulty in creating other
                designs that serve the design’s same purpose

      A design is likely to be considered functional if it represents a “solution to a

problem” and creating other designs that solve that same problem would be difficult

or impossible. Specialized Seating, 616 F.3d at 727 (where a folding chair’s design

achieves a desirable “strength to weight ratio,” and alternative designs that achieve

that same ratio would be difficult or impossible, the design is functional).

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      Think Green argues that there are numerous successful, highly rated

alternative silicone one-piece breast pumps that are designed differently than, but

function the same as, Think Green’s pump. [314] at 6–7. In particular, Think Green

points to Lansinoh’s silicone breast pump which “lacks the overall claimed trade dress

for having a bottom-weighted pear-shaped collector (rather than ovoid).” Id. at at 7–

8. Still, Lansinoh’s product is sold at a lower price, and boasts more, and higher,

ratings. Id. Think Green also leans on its expert’s identification of several other

designs, based on both existing patents and patent applications, and the expert’s own

rough designs of various breast pumps. Id. at 7.

      Medela argues that Think Green’s invocation of the Lansinoh pump should be

stricken pursuant to the “sham affidavit” rule because Think Green “manufacture[d]

a factual dispute via an expert declaration that contradicts its own sworn

admissions.” See [341] at 4, n.4. But the sham affidavit rule forbids litigants from

creating sham issues of fact with affidavits that contradict prior deposition testimony.

Dunn v. Menard, Inc., 880 F.3d 899, 910 (7th Cir. 2018); Janky v. Lake Cnty.

Convention and Visitors Bureau, 576 F.3d 356, 362 (7th Cir. 2009). So, if a witness’s

deposition and a later supplemental affidavit conflict, the affidavit must typically be

disregarded. Velez v. City of Chicago, 442 F.3d 1043, 1049 (7th Cir. 2006) (quoting

Amadio v. Ford Motor Co., 238 F.3d 919, 926 (7th Cir. 2001)). That is not what

happened here. Rather, a Think Green corporate representative’s testimony was later

contradicted by a Think Green expert witness. [341] at 4 n.4. This scenario is not one

of a sham affidavit, but of two separate witnesses offering differing testimony.



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      Where Think Green has presented evidence that other non-infringing designs

are available, a triable issue of fact exists on functionality. See Heckler & Koch, 71 F.

Supp. 3d at 919.

             7. Factor 5: The effect of the design on the product’s quality or
                cost

      Think Green denies that its trade design makes its pump’s manufacturing

process simpler or less expensive than other silicone manual breast pumps. [314] at

12–13. Citing its expert (Fletcher), Think Green argues that the cost of its design is

higher than the cost for a differently designed silicone one-piece pump, even though

the pertinent products from Think Green, Medela, and other competitors are made

using the same liquid injection molding process. Id.; see also [300-7] at 35 (although

Think Green’s silicone one-piece pump is less expensive to produce than Medela’s, it

is more expensive to produce than a competitor’s pump). Id. Think Green therefore

has raised a triable issue of fact as to whether its design makes it pump simpler or

less expensive than competitor pumps, which bears on the issue of functionality.

                                          ***

      Because issues of material fact remain as to trade dress infringement, Medela’s

motion for summary judgment as to trade dress is denied. [281].

      C. Medela’s Motion for Summary Judgment on Think Green’s False
         Advertising and Illinois Deceptive Trade Practices Act Claims.

      A false advertising claim under the Lanham Act and Illinois Deceptive Trade

Practices Act requires proof of five elements. In resolving Medela’s motion, the Court

has determined that it only needs to address the last of these elements: injury. To



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prevail on both claims, Medela must show that it “has been or is likely to be injured

as a result of the false statement, either by direct diversion of sales from itself to

defendant or by a loss of goodwill associated with its products.” Hot Wax, Inc. v. Turtle

Wax, Inc., 191 F.3d 813, 819 (7th Cir. 1999); see also Long Grove Invs., LLC v. Baldi

Candy Co., 397 F. Supp. 3d 1190, 1198 (N.D. Ill. 2019) (in Illinois, courts resolve

Illinois Deceptive Trade Practices Act claims according to the principles set forth in

the Lanham Act).

      Ordinarily, a plaintiff bringing a false advertising claim under the Lanham Act

must show economic or reputational injury flowing directly from the deception

wrought by the defendant’s advertising. Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 133 (2014); see also Eli Lilly & Co. v. Arla Foods, Inc.,

893 F.3d 375, 381–82 (7th Cir. 2018) (satisfying this element “requires proof of

an injury to a commercial interest in sales or business reputation proximately caused

by the defendant's misrepresentations.”). Citing a Second Circuit case, Think Green

alleges there is an exception to this rule under which it falls: Where a plaintiff and

defendant are in direct competition with each other, it can be presumed that

defendant’s false advertisement necessarily takes away from plaintiff. See Merck

Aprova AG v. Gnosis S.p.A., 760 F.3d 247, 260–261 (2d Cir. 2014). But there is more

to this presumption. To be “in direct competition with one another,” the two parties

must be the only two competitors in the relevant market. Id. (“We hold that where, as

here, a plaintiff has met its burden of proving deliberate deception in the context of a

two-player market, it is appropriate to utilize a presumption of injury.”); In re C2R



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Glob. Mfg., Inc., No. 18-30182-BEH, 2020 WL 5941330, at *19 (Bankr. E.D. Wis. Oct.

6, 2020) (citing Merck and declining to presume injury when the two parties were not

the only competitors in the relevant market). Think Green does not claim that it and

Medela are the only two competitors in the relevant market.

      There is otherwise no evidence in the record that Think Green was injured

because of Medela’s false advertisements. In fact, Think Green only contends that the

first of three allegedly false advertisements—promoting an “anti-spill” feature as

setting Medela’s pump apart from its competitors—even implicated it. [314] at 33.

Think Green has not presented any evidence, for example, that it retained its

customers in the wake of this false advertising “by spending an abundance of time,

energy, and money to combat [that] false advertising.” Underground Sols., Inc. v.

Palermo, 188 F. Supp. 3d 717, 731 (N.D. Ill. 2016); see also FireBlok IP Holdings v.

Hilti, Inc., No. 19-CV-50122, 2025 WL 1557924, at *5 (N.D. Ill. June 2, 2025)

(“FireBlok did not point to evidence of, nor did it even assert, that it was injured in

its motion … FireBlok first argues that its injury is ‘self-evident’ by the very nature

of the parties’ competitive relationship … However, FireBlok provides no case law in

support of this assertion.”).

      Because Think Green has failed to dispute that it was not injured by Medela’s

allegedly false advertisements, the Court grants Medela’s motion for summary

judgment as to Think Green’s false advertising claim. See Not Dead Yet Mfg. Inc. v.

Pride Sols., LLC, No. 13 C 3418, 2018 WL 688324, at *10 (N.D. Ill. Feb. 2, 2018)

(“Plaintiff presented no evidence, or argument, that Defendants’ allegedly misleading



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statements … would have any effect on consumers’ purchasing decisions. That lack

of evidence also dooms Plaintiff’s claims under the Lanham Act.”).

   IV.      Conclusion

         For the reasons stated above, Medela’s motion for summary judgment is denied

as to Think Green’s trade dress claim and granted as to Think Green’s false

advertising claim. [281]. Think Green’s motion for partial summary judgment on the

issue of post-sale likelihood of confusion is denied. [274]. The motions to exclude or

strike Harper’s and Cohen’s testimony are denied. [292], [303], [331]. The motion to

strike portions of Faltum’s testimony is denied as premature and may be renewed

before trial. [295].

         The Court sets an in-person status hearing for July 31, 2025, at 9:30 a.m. In

advance of the status hearing, the parties are directed to meet and confer on potential

trial dates as well as the possibility of settlement.



                                                ___________________________
                                                Georgia N. Alexakis
                                                United States District Judge


Date: July 2, 2025




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